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 1                                                             The Honorable Robert S. Lasnik

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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8   STATE OF WASHINGTON; STATE OF                   NO. 2:18-cv-01115-RSL
     CONNECTICUT; STATE OF MARYLAND;
 9   STATE OF NEW JERSEY; STATE OF NEW               SECOND DECLARATION OF
     YORK; STATE OF OREGON;                          JENNIFER D. WILLIAMS IN SUPPORT
10   COMMONWEALTH OF                                 OF PLAINTIFF STATES’ MOTION FOR
                                                     SUMMARY JUDGMENT
     MASSACHUSETTS; COMMONWEALTH
11   OF PENNSYLVANIA; DISTRICT OF
     COLUMBIA; STATE OF CALIFORNIA;
12   STATE OF COLORADO; STATE OF
     DELAWARE; STATE OF HAWAII; STATE
13   OF ILLINOIS; STATE OF IOWA; STATE
     OF MINNESOTA; STATE OF NORTH
14   CAROLINA; STATE OF RHODE ISLAND;
     STATE OF VERMONT; and
15   COMMONWEALTH OF VIRGINIA.

16                        Plaintiffs,
            v.
17
     UNITED STATES DEPARTMENT OF
18   STATE; MICHAEL R. POMPEO, in his
     official capacity as Secretary of State;
19   DIRECTORATE OF DEFENSE TRADE
     CONTROLS; MIKE MILLER, in his official
20   capacity as Acting Deputy Assistant Secretary
     of Defense Trade Controls; SARAH
21   HEIDEMA, in her official capacity as Director
     of Policy, Office of Defense Trade Controls
22   Policy; DEFENSE DISTRIBUTED; SECOND
     AMENDMENT FOUNDATION, INC.; AND
23   CONN WILLIAMSON,

24                        Defendants.

     DECLARATION OF                             i             ATTORNEY GENERAL OF WASHINGTON
                                                                   800 Fifth Avenue. Suite 2000
     JENNIFER D. WILLIAMS                                            Seattle, WA 98104-3188
     2:18-cv-01115-RSL                                                    (206) 464-7744
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 1           I, Jennifer D. Williams, declare as follows:

 2           1.       I am over the age of 18 and have personal knowledge of all the facts stated herein.

 3           2.       I am a Paralegal with the Washington State Attorney General’s Office, which

 4   represents the State of Washington in this matter.

 5           3.       I was responsible for coordinating a comprehensive review by attorneys in our

 6   office of the Revised Second Supplement to Administrative Record filed by the Federal

 7   Defendants in this matter (Dkt. # 184). I also reviewed parts of the record. We used document

 8   review software and a tagging system to analyze the record.

 9           4.       Based on the results of our review, the Revised Second Supplement to the

10   Administrative Record comprises the following documents, which are labeled with Bates

11   numbers CWASHAR0000001–2905 and WASHAR0000001–37074:

12                    1.    Approximately 469 emails to the State Department regarding the planned
                            deregulation of 3D-printable gun files, of which 466 were opposed, three
13                          were neutral, and none supported the move ([CWASHAR0002348-49
                            (rev. suppAR); WASHAR0000915; WASHAR0002369-70; 0003040-41;
14                          WASHAR0036607-37074);1

15                    2.    2 letters to the State Department regarding the planned deregulation of
                            3D-printable gun files, both in opposition (WASHAR0001810-44;
16                          WASHAR0002386-2410).

17                    3.    Two letters—one from Representative Engel and one from Senator
                            Menendez—to State Department personnel opposing the Department’s
18                          planned deregulation of 3D-printable guns (produced multiple times)
                            (CWASHAR0000361-362; CWASHAR0002362-63);
19
                      4.    A letter from senators to Attorney General Jeff Sessions opposing the
20                          Defense Distributed settlement agreement to deregulate 3D-printable gun
                            files (CWASHAR0002364-65);
21
                      5.    Approximately 155 communications related to the Defense Distributed
22                          settlement, consisting primarily of internal communications related to

23            1
                The Revised Second Supplement includes four sample emails received from visitors to Everytown.org.
     WASHAR0037071–74. It also includes a “Summary of Duplicative Materials,” indicating that the Federal
24   Defendants received a total of 105,555 of these emails. WASHAR0037069. The States agreed that the 105,555
     emails referenced in this Summary could be incorporated into the administrative record by reference.
     DECLARATION OF                                      1                 ATTORNEY GENERAL OF WASHINGTON
                                                                                800 Fifth Avenue. Suite 2000
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 1                    implementing the settlement agreement (CWASHAR0000014-19;
                      0000021-22; 0000028; 0000031; 0000041-53; 0001722-46; 0001749-71;
 2                    0002366; 0002368; 0002369-73; 0002376-79; 0002385-91; 0002407-09;
                      and WASHAR0000018-31; 0000033-48; 0000207-10; 0000237; 0000297-
 3                    319; 0000335-49; 0000351-63; 0000388; 0000569; 0000668-70;
                      0000685-89; 0001085-87; 0001147-49; 0001659; 0001749-52; 0002020-
 4                    23; 0002039-48; 0002079-80; 0002091-93; 0002123-27; 0002299;
                      0002304; 0002468-71; 0002482-84; 0002525; 0002536-40; 0002556-66;
 5                    0002574; 0002577; 0002659; 0002768-71; 0002775-76; 0002778;
                      0002786; 0002789; 0002824-27; 0002832-34; 0002835-36; 0002842-43;
 6                    0002912-14; 0002933-55; 0002958-59; 0002971-72; 0002981-82;
                      0003009-10; 0003025; 0003240-44; 0003419-21; 0003436-38; 0003441-
 7                    51; 0003465-66; 0003474-76; 0035583; 0035586-90; 0035596; 0035603;
                      0035613; 0035645-49; 0035659-61; 0035667-72; 0035685-87; 0035690-
 8                    92; 0035715; 0035734; 0035777-78; 0035798-800; 0035868-71; 0035897;
                      0035904-06; 0035969; 0036040; 0036052-54; 0036079-87; 0036148-50;
 9                    0036154-62; 0036186-87; 0036216; 0036237-41; 0036370-73; 0036558-
                      71; 0036584-90);
10
                 6.   Approximately 44 pleadings from the Defense Distributed lawsuit
11                    (WASHAR0000001-7; 0000059-128; 0000320-34; 0000372-77; 0000390-
                      557; 0000570-72; 0000596-650; 0000690-704; 0001660-74; 0001753-67;
12                    0002155-224; 0002305-06; 0002541-55; 0003152-206; 0003208-21);

13               7.   Approximately 298 press clippings, newsletters, media alerts, and the like
                      (CWASHAR0000054-369; 0000363-411; 0000415-590; 0000615-1208;
14                    0001214-1721; 0001747-48; 0001772-2121; 0002147-2327; 0002343-47;
                      0002350-54; 0002357-61 and WASHAR0000055-58; 0000147-51;
15                    0000232-36; 0000364; 0000367-70; 0000666-67; 0001112; 0001171-72;
                      0001688-1703 (rev. suppAR 0001691-703); 0001790-95; 0001804-09;
16                    0002136-54; 0002243-92; 0002294-98; 0002315-20; 0002358-59;
                      0002371-74; 0002473-78; 0002570-71 (rev. suppAR); 0002583-2658;
17                    0002660-65; 0002767; 0002772-74; 0002790-94; 0002803; 0002817-21;
                      0002897-911; 0003012-21; 0003028-31; 0003068-75; 0003119-51;
18                    0003247-418; 0003439-40; 0003452-64; 0003467-83; 0035610; 0035626-
                      28; 0035632-40; 0035654-58; 0035673-74; 0035680-84; 00035688-89;
19                    0035696-99; 0035712-14; 0035717-19; 0035740-55; 0035759-61;
                      0035773-76; 0035779-97; 0035801-67; 0035872-74; 0035898-903;
20                    0035907-68; 0035970-36031; 0036044-51; 0036055-78; 0036088-89;
                      0036095-36147; 0036163-71; 0036178-85; 0036188-90; 0036195-36211;
21                    0036214-15; 0036228; 0036247-68; 0036271-77; 0036280-302; 0036305-
                      23; 0036327-69; 0036374-91; 0036397-449; 0036451-55; 0036463-503;
22                    0036506-27; 0036532-56; 0036572-83; 0036600-03); and

23               8.   Approximately 267 miscellaneous documents.

24         5.    The Federal Defendants’ record certifications and privilege logs indicate that they

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 1   withheld approximately 3,246 documents. These include multiple copies of drafts of the

 2   proposed State Department and Commerce Department rules that were published as NPRMs in

 3   March 2018 and internal State Department communications.

 4          6.     According to the Declaration of Michael F. Miller filed by the Federal

 5   Defendants, the State Department received 3,250 comments on their NPRM. Dkt. # 179-2 at ¶ 3.

M To date, they have only produced approximately 3,191 of those comments in this litigation.

            I declare under penalty of perjury that the foregoing is true and correct.

I
.-          DATED this 24th day of May, 2019.

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10                                                JENNIFER D. WILLIAMS

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